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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

FRANK KELLY, et al.,                          :
    Plaintiffs                                :       No. 1:20-cv-00257
                                              :
      v.                                      :       (Judge Kane)
                                              :
GREEN AIR MECHANICAL, LLC,                    :
    Defendant                                 :

                                          ORDER

      AND NOW, on this 4th day of November 2020, in accordance with the Memorandum

issued concurrently with this Order, IT IS ORDERED THAT:

   1. Plaintiffs’ motion for default judgment (Doc. No. 10) is GRANTED;

   2. The Clerk of Court is DIRECTED to enter judgment in favor of Plaintiffs and against
      Defendant in the amount of $96,112.65 representing delinquent benefit fund
      contributions, liquidated damages, and interest pursuant to 29 U.S.C. §§ 1132 and 1145
      and the terms of the collective bargaining agreement; and

   3. The Clerk of Court is directed to CLOSE the case.



                                                  s/ Yvette Kane
                                                  Yvette Kane, District Judge
                                                  United States District Court
                                                  Middle District of Pennsylvania
